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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARY BOARDMAN                                          CIVIL ACTION

             v.
CITY OF PHILADELPHIA, et al.                           NO. 13-cv-1499


                                     JUDGMENT

      AND NOW, this      23rd     day of November, 2016, judgment is hereby entered
in favor of City of Philadelphia, Officer Robert Smith and Officer James Arentzen, and
against Mary Boardman , in the amount of $1,512 .75.




                                               LUCYV. CHIN
                                               Interim Clerk of Court




                                        By:    ~
                                               Diane Michalik, Esquire
                                               Deputy Clerk
